Case 1:03-md-01570-GBD-SN Document 272-16 Filed 06/30/04 Page 1 of 13




                     Exhibit 13
Osama Bin Ladin
                  Case 1:03-md-01570-GBD-SN Document 272-16 Filed 06/30/04 Page 2 of 13

                                http://home.netscape.com/download/index.html




An Exclusive Interview with Osama Bin Ladin
Talking with Terror’s Banker




                             John Miller Interviews Osama Bin Ladin



 IN THIS SERIES
 The Journey
                                                                                                           Sponsored by
 to Bin Ladin's
                                                                                                           Amazon.com
 Lair
                            ABCNEWS Correspondent John Miller walked through the mountains of
 A Visit With               Afghanistan to Osama Bin Ladin's secret hideaway for an exclusive
 Osama Bin                  interview about the Saudi pariah's global terror campaign. (ABCNEWS)
 Ladin
 A Transcript
                            ABCNEWS.com
 of the                     SOMEWHERE INSIDE AFGHANISTAN, May 28 — Armed
 Interview                  Islamic militants led ABCNEWS Correspondent John
 Bin Ladin:                 Miller and his crew by foot through the mountains of
 Terror Banker,             southern Afghanistan to the secret hideaway of Osama
 Folk Hero,                 Bin Ladin. The Saudi Arabian multimillionaire has
 Pariah                     ordered his private terror network to kill Americans and
 Bracing for an             Jews within the next few weeks. Here is Miller’s
 Attack                     interview with the man the U.S. government considers
                            the world’s most dangerous terrorist.

                            Osama Bin Ladin spoke plainly about his enemies. Some key
                            points:

                            Key Points
                            His fatwa targeting American civilians



file:///G|/AB/9-11%20Terrorism/Factual%20Materials/Osama%20Bin%20Ladin.htm (1 of 12)6/29/2004 9:08:55 AM
Osama Bin Ladin
                  Case 1:03-md-01570-GBD-SN Document 272-16 Filed 06/30/04 Page 3 of 13
                         His connection to the World Trade Center bombers
                            His connection to a plot to kill President Clinton
  Terrorism                 His desire to destroy the United States
                            His campaign to destroy the Saudi royalty
                            The location of his next targets
     Click here for an
                            His coordination of global terror
     ABCNEWS.com
        special report.     on his coordination to sheik Rahman


                            John Miller: Mr. Bin Ladin, to Americans you are an interesting
                            figure: A man who comes from a background of wealth and
                            comforts who ended up fighting on the front lines. Many
                            Americans would think that’s unusual.

                            Osama Bin Ladin:

                            Thanks be to Allah. It is
                            hard for one to understand if
                            the person does not
                            understand Islam. In our
                            religion we believe that
                            Allah created us to worship
                            him. Allah is the one who
                            created us and blessed us
                            with this religion, and
                            orders us to carry out the
                            holy struggle “jihad” to
                            raise the word of Allah
                            above the words of the           The exact location of Bin Ladin’s
                            unbelievers.                     Afghan hideaway is a closely guarded
                                                             secret.
                                We believe this is a form (Magellan Geographix/ABCNEWS.com)
                            of worship we must follow
                            despite our financial ability. This is a response to Westerners and
                            secularists in the Arab world who claim the reason for the
                            awakening and the return to Islam is financial difficulties. This is
                            untrue. In fact, the return of the people to Islam is a blessing
                            from Allah, and their return is a need for Allah.
                                This is not a strange issue. During the days of jihad,
                            thousands of young men who were well off financially left the
                            Arabian Peninsula and other areas and joined the fighting—
                            hundreds of them were killed in Afghanistan, Bosnia and
                            Chechnya. We pray Allah grants them martyr status.



file:///G|/AB/9-11%20Terrorism/Factual%20Materials/Osama%20Bin%20Ladin.htm (2 of 12)6/29/2004 9:08:55 AM
Osama Bin Ladin
                  Case 1:03-md-01570-GBD-SN Document 272-16 Filed 06/30/04 Page 4 of 13
                        John Miller: You have been described as the “World’s Most
                            Wanted Man.” There is word that the American government
                            intends to put a price on your head in the millions for your
                            capture. Do you think about that? Does it worry you?

                            Osama Bin Ladin: Praise be to Allah. It does not worry us what
                            the Americans think. What worries us is pleasing Allah. The
                            Americans impose themselves on everyone who believes in his
                            religion and his rights. They accuse our children in Palestine of
                            being terrorists. Those children that have no weapons and have
                            not even reached maturity. At the same time they defend a
                            country with its airplanes and tanks, and the state of the Jews,
                            that has a policy to destroy the future of these children.
                                Clinton stands after Qana and defends the horrible massacre
                            that severed the heads of children and killed about 100 persons.
                            Clinton stands and claims Israel has the right to defend itself. We
                            do not worry about American opinion, or the fact the place prices
                            on our heads.
                                We as Muslims believe that our fate is set. If the whole world
                            decides to get together and kill us before our time has come, we
                            will not die, our livelihood is set. No matter how much pressure
                            America places on the regime in Riyadh to freeze our assets and
                            to prevent people from contributing to this great cause, we rely
                            on Allah.

                            John Miller: You have said, “If the Americans are so brave they
                            will come and arrest me.” Do you think that is something my
                            country will try?

                            Osama Bin Ladin: We have seen in the last decade the decline of
                            the American government and the weakness of the American
                            soldier who is ready to wage Cold Wars and unprepared to fight
                            long wars. This was proven in Beirut when the Marines fled after
                            two explosions. It also proves they can run in less than 24 hours,
                            and this was also repeated in Somalia. We are ready for all
                            occasions. We rely on Allah.

                            Fatwa Against Americans
                            John Miller: Mr. Bin Ladin, you have issued a fatwa calling on
                            all Muslims to kill Americans where they can, when they can. Is
                            that directed at all Americans, just American military, just
                            Americans in Saudi Arabia?

                            Osama Bin Ladin: As we mentioned before, Allah ordered us in


file:///G|/AB/9-11%20Terrorism/Factual%20Materials/Osama%20Bin%20Ladin.htm (3 of 12)6/29/2004 9:08:55 AM
Osama Bin Ladin
                  Case 1:03-md-01570-GBD-SN Document 272-16 Filed 06/30/04 Page 5 of 13
                            this religion to purify Muslim land of all non-believers, and
                            especially the Arabian Peninsula where the Ke’ba is. After
                            WWII, the Americans became more aggressive and oppressive,
                            especially in the Muslim world.
                                We are surprised this question is coming from Americans.
                            Each action will solicit a similar reaction. We must use such
                            punishment to keep your evil away from Muslims, Muslim
                            children and women. American history does not distinguish
                            between civilians and military, and not even women and
                            children. They are the ones who used the bombs against
                            Nagasaki. Can these bombs distinguish between infants and
                            military? America does not have a religion that will prevent it
                            from destroying all people.
                                Your situation with Muslims in Palestine is shameful, if there
                            is any shame left in America. In the Sabra and Shatilla massacre,
                            a cooperation between Zionist and Christian forces, houses were
                            demolished over the heads of children. Also, by testimony of
                            relief workers in Iraq, the American led sanctions resulted in the
                            death of over 1 million Iraqi children.
                                All of this was done in the name of American interests. We
                            believe that the biggest thieves in the world and the terrorists are
                            the Americans. The only way for us to fend off these assaults is
                            to use similar means.
                                We do not differentiate between those dressed in military
                            uniforms and civilians; they are all targets in this fatwa.
                            Especially since American officials were released after the
                            Khobar bombing, asking all American civilians to contact the
                            security department in the embassy with information on Muslims
                            and activists. The fatwa includes all that share or take part in
                            killing of Muslims, assaulting holy places, or those who help the
                            Jews occupy Muslim land.

                            World Trade Center Bombing
                            John Miller: Ramzi Yousef was a follower. Do you remember
                            him? Did you know him?

                            Osama Bin Ladin: Ramzi Yousef, after the World Trade Center
                            bombing became a well known Muslim personality, and all
                            Muslims know him. Unfortunately, I did not know him before
                            the incident.
                               I remember him as a Muslim who defended Islam from
                            American aggression. He took this effort to let the Americans
                            know that their government assaults Muslims to insure Israeli
                            interest, to insure Jews.
                               American will see many youths who will follow Ramzi

file:///G|/AB/9-11%20Terrorism/Factual%20Materials/Osama%20Bin%20Ladin.htm (4 of 12)6/29/2004 9:08:55 AM
Osama Bin Ladin
                  Case 1:03-md-01570-GBD-SN Document 272-16 Filed 06/30/04 Page 6 of 13
                            Yousef.

                            John Miller: Is it true that when Ramzi Yousef was captured, he
                            was in a guesthouse that you were paying for?

                            Osama Bin Ladin: What was broadcast in the news and what we
                            learned is that he was captured in Pakistan in a hotel.

                            Plot to Kill the President
                            John Miller: Wali Khan Amin Shah was captured in Manila.
                            American authorities believed he was working for you, funded
                            by you, setting up training camps there and that part of his plan
                            was to plan the assassination of President Clinton during his trip
                            to Manila.

                            Osama Bin Ladin: Wali Khan is a Muslim youth. In Afghanistan,
                            he is nicknamed “The Lion.” He is one of the best youths. We
                            were good friends. We fought together in the same trench against
                            the Russians until Allah sent them away in humiliating defeat.
                            You mentioned that he works for me—we do not have anyone
                            who works for someone else. We all work for Allah and await
                            his reward. And regarding your mention of his attempt to
                            assassinate President Clinton, it is not surprising. I did not know
                            about it, but it is not surprising.
                               As I said, every action solicits a similar reaction. What does
                            Clinton expect from those whom he killed and assaulted their
                            children and mothers? This is not a surprising matter.

                            John Miller: Federal Authorities in The United States are still
                            investigating their suspicion that you ordered and funded the
                            attacks on the United States military in El Khohar and Riyadh.

                            Osama Bin Ladin: We roused the people, the Muslims, and
                            carried fatwas from our Ulima after the Saudi government
                            imprisoned them to placate the American government. The most
                            prominent are Dhekh Salman ben Fahd al-Odeh, Safad ben
                            Abdel Rahman el Awli.
                               So we carried these fatwas and roused the people to eject this
                            enemy from the holy land, some of the people listened, from
                            among them, Khaled el-Sa’eed, Abdel Azziz el Me’them,
                            Hamood al Hajery and Misleh el Samray. We pray Allah grants
                            them martyr status. They have raised the head of the Muslim
                            nation high, and washed away some of the dishonor we had to
                            bear by the Saudi government’s collaboration with the American


file:///G|/AB/9-11%20Terrorism/Factual%20Materials/Osama%20Bin%20Ladin.htm (5 of 12)6/29/2004 9:08:55 AM
Osama Bin Ladin
                  Case 1:03-md-01570-GBD-SN Document 272-16 Filed 06/30/04 Page 7 of 13
                            government in the land of Allah.
                               We look at these young men as great heroes and martyrs who
                            followed the steps of the prophet peace upon him. We called and
                            they answered. We pray to Allah to accept them and bless their
                            parents with patience.

                            John Miller: You have been painted in America as a terrorist
                            leader. To your followers you are a hero. How do you see
                            yourself?

                            Osama Bin Ladin: As I said before, we do not worry about what
                            America says. We look at ourselves and our brethren as
                            worshipers of Allah who created us to worship him and follow
                            his books and prophets. I am one of Allah’s worshipers. I
                            worship Allah, which includes carrying out the jihad to raise
                            Allah’s word and evict the Americans from all Muslim land.

                            Desire to Destroy the U.S.
                            John Miller: No one expected the mujahideen to defeat the
                            Russians in Afghanistan that caused a surprise to everyone. What
                            do you see as the future for the American involvement in the
                            Middle East and taking on groups like yours?

                            Osama Bin Ladin: NATO, that America created, we know it
                            spent $455 billion American dollars in improving weaponry to
                            protect Europe and America from Russia, and they did not fire a
                            single shot. Allah stood with the Muslims, the Afghani
                            mujahideen, and those who fought with them from other Muslim
                            countries. We fought against the Russians and the Soviet Union
                            until, not to say we defeated them, but Allah defeated them, they
                            became non-existent. There is a lesson to learn from this for he
                            who wishes to learn.
                               The Soviet Union entered in the last week of 1979, in
                            December, and with Allah’s help their flag was folded December
                            25 a few years later and thrown in the trash, and there was
                            nothing left to call Soviet Union.
                               We are sure of Allah’s victory and our victory against the
                            Americans and the Jews as promised by the prophet peace be up
                            on him: “Judgment day shall not come until the Muslims fight
                            the Jews, whereas the Jews will hide behind trees and stones, and
                            the tree and the stone will speak and say ‘Muslim, behind me a
                            Jew come and kill him’, except for the al-Ghargad tree, which is
                            a Jewish plant.”
                               We are sure of our victory. Our battle with the Americans is
                            larger than our battle with the Russians. The Americans made a

file:///G|/AB/9-11%20Terrorism/Factual%20Materials/Osama%20Bin%20Ladin.htm (6 of 12)6/29/2004 9:08:55 AM
Osama Bin Ladin
                  Case 1:03-md-01570-GBD-SN Document 272-16 Filed 06/30/04 Page 8 of 13
                            very stupid mistake that no one has made before. They attached
                            the Muslim symbol, the Kibla, of 200 million people. The
                            reaction was very encouraging by the Muslim scholars and the
                            youth.
                                We predict a black day for America and the end of the United
                            States as United States, and will be separate states, and will
                            retreat from our land and collect the bodies of its sons back to
                            America. Allah willing.

                            The Saudi Royal Family
                            John Miller: What do you see as the future of the Saudi Royal
                            family and their involvement with America and United States
                            military?

                            Osama Bin Ladin: History has an answer to your question. Any
                            government that sells its peoples’ interests and betrays its people
                            and takes actions that removes it from the Muslim nation will not
                            succeed.

                               We predict that the Riyadh leader and those with him that
                            stood with the Jews and Christians and forfeited Al-Haramien,
                            the holy shrines, to Jews and Christians with American identities
                            or other will disintegrate. They have left the Muslim nation.
                                We predict that like the Iran Royal family, the Shah, they will
                            disperse and disappear. After Allah gave them property on the
                            most sacred land and gave them wealth that is unheard of before
                            from oil, still they sinned and did not value Allah’s gift. We
                            predict destruction and dispersal after they in a great devastation
                            against the Muslim nation, especially what happens to the
                            Muslim people of Iraq.
                                The prophet said, “A woman entered hell because of a cat.
                            She did not feed it and blocked it from finding food on its own.”
                            She is going to hell for blocking cat to death, but what say to
                            those who agreed and gave reason for the hundreds of thousands
                            of troops to blockade millions of Muslims in Iraq?

                            John Miller: Do you think the Saudi government wants the
                            American military to stay?

                            Osama Bin Ladin: This does not a make a difference, since
                            American opposition, aggression and greed still exists. They
                            came by word of government. It does not make a difference if
                            the government wants you to stay or leave, you will leave when
                            the youth send you the wooden boxes and the coffins, and you
                            will carry in it the bodies of American troops and civilians. This

file:///G|/AB/9-11%20Terrorism/Factual%20Materials/Osama%20Bin%20Ladin.htm (7 of 12)6/29/2004 9:08:55 AM
Osama Bin Ladin
                  Case 1:03-md-01570-GBD-SN Document 272-16 Filed 06/30/04 Page 9 of 13
                            is when you will leave.
                               The Muslim masses are moving towards liberating the
                            Muslim worlds. Allah willing, we will win.

                            His Next Targets
                            John Miller: Describe the situation when your men took on the
                            Americans in Somalia? Where you there?

                            Osama Bin Ladin: After Allah honored us with victory in
                            Afghanistan, and justice prevailed and the killing of those who
                            slaughtered millions of Muslims in the Muslim republics, it
                            cleared from Muslim minds the myth of superpowers. The youth
                            ceased from seeing America as a superpower. After leaving
                            Afghanistan they headed for Somalia and prepared for a long
                            battle, thinking that the Americans were like the Russians, but
                            they were surprised when the Americans entered with 300,000
                            troops, and collected more troops from the world—5,000 from
                            Pakistan, 5,000 from India, 5,000 from Bangladesh, 5,000 from
                            Egypt, Senegal and others like Saudi Arabia.
                               The youth were surprised at the low morale of the American
                            soldiers and realized more than before that the America soldiers
                            are paper tigers. After a few blows, they ran in defeat and
                            America forgot about all the hoopla and media propaganda after
                            leaving the Gulf War and destroying infrastructure—and
                            destroying baby formula factories, all civilian factories, bridges
                            and dams that help planting food—about being the world leader,
                            and the leader of the new world order. After a few blows, they
                            forgot about this title and left, dragging their corpses and their
                            shameful defeat and stopped using such titles. And they learned
                            in America that this name is larger then them.
                               When this took place, I was in Sudan, and this great defeat
                            pleased me very much, the way it pleases all Muslims.
                               Allah willing the next victory will be in Hejaz and Najd, Saudi
                            Arabia, and it will make the Americans forget the horrors of
                            Vietnam and Beirut.

                            John Miller: Many Americans believe that fighting army to army
                            like what happened in Afghanistan is heroic for either army, but
                            setting off bombs killing civilians and innocents like the World
                            Trade Center is terrorism.

                            Osama Bin Ladin: He is using talk that they are not following.
                            After our victory in Afghanistan and defeating the Russians, the
                            world media, lead by the American media, started a campaign


file:///G|/AB/9-11%20Terrorism/Factual%20Materials/Osama%20Bin%20Ladin.htm (8 of 12)6/29/2004 9:08:55 AM
Osama Bin Ladin
                  Case 1:03-md-01570-GBD-SN Document 272-16 Filed 06/30/04 Page 10 of 13
                            against us that is still going on today despite the fact that the
                            Russians left in l989, almost 10 years ago. They have carried out
                            this campaign accusing us of being terrorists without any action
                            being taken by the mujahideen against the real terrorists, the
                            Americans. That is one side.
                                On the other side, American policy does not admit to
                            differentiating between civilians, military, and child, human or
                            animal. Examples I mentioned before are Nagasaki and
                            Hiroshima where they tried to eliminate a whole people.
                                When it comes to Muslims, there is testimony from
                            Westerners and Christians who testified to the death of hundreds
                            of thousands of our children in Iraq. And there is Qana, Sabra
                            and Shattila, Dir Yasin and Bosnia.
                                The crusaders continued their slaughter of our mothers, sisters
                            and children. America every time makes a decision to support
                            them and prevent weapons from reaching the Muslims, and
                            allow Serbian butchers to slaughter Muslims.
                                You do not have a religion that prevents you from carrying
                            out these actions and therefore you do not have the right to
                            object to like treatment. Every action solicits a reaction. It is a
                            punishment that fits the crime. At the same time, our primary
                            target are military and those in its employment.
                                Our religion forbids us to kill innocents—children, women
                            who are not combatants. Women soldiers who place themselves
                            in the battle trenches receive the same treatment as fighting men.

                            Coordination of Global Terror
                            John Miller: Is there a high council of the leaders of different
                            groups like yours that decides on ways and means to attack
                            Americans?

                            Osama Bin Ladin: After the Americans entered the Holy Land,
                            many emotions were roused in the Muslim world, more than we
                            have seen before. A great meeting took a place a few days ago in
                            Pakistan, and it was attended by 150 scholars in Pakistan. The
                            goal of the meeting was to work toward liberating the Holy Land
                            and coordinate efforts between Muslim masses in the area.
                               Also, with Allah’s blessings, scholars from Afghanistan,
                            India and other Muslim nations’ individual fatwas were passed,
                            but here great joint fatwas were passed. The cooperation is
                            expanding between general supporters of this religion. From this
                            effort, the International Islamic Front for the Jihad Against Jews
                            and Crusaders was formed, which we are a member of with other
                            groups. It has a higher council to coordinate rousing the Muslim
                            nation to carry out jihad against the Jews and the crusaders.

file:///G|/AB/9-11%20Terrorism/Factual%20Materials/Osama%20Bin%20Ladin.htm (9 of 12)6/29/2004 9:08:55 AM
Osama Bin Ladin
                  Case 1:03-md-01570-GBD-SN Document 272-16 Filed 06/30/04 Page 11 of 13

                            John Miller: The American People by the large do not know the
                            name Osama Bin Ladin, but they soon will. Do you have a
                            message to the American people?

                            Osama Bin Ladin: I say that the American people gave
                            leadership to a traitorous leadership. This became very clear and
                            especially in Clinton’s government. The American government,
                            we think, is an agent that represents the Israel inside America. If
                            we look at sensitive departments in the present government like
                            the defense department or the state department, or sensitive
                            security departments like the CIA and others, we find that Jews
                            have the first word in the American government, which is how
                            they use America to carry out their plans in the world and
                            especially the Muslim world.
                                The presence of Americans in the Holy Land supports the
                            Jews and gives them a safe back. The American government, in
                            a time where there are millions of Americans living on the street
                            and those living below the standard of living and below the
                            poverty line, we find the American government turning toward
                            helping Israel in occupying our land and building settlements in
                            the Holy Land.
                                The American government is throwing away the lives of
                            Americans in Saudi Arabia for the interests of the Jews. The
                            Jews are a people who Allah cited in his holy book the Koran as
                            those who attacked prophets with lies and killings, and attacked
                            Mary and accused her of a great sin. They are a people who
                            killed Allah’s prophets—would they not kill, rape and steal from
                            humans?
                                They believe that all humans are created for their use, and
                            found that the Americans are the best-created beings for that use.
                            The American Government is driving America to destruction and
                            those same ones have no doubts about America being a
                            superpower in the next decade.
                                So, we tell the American as a people, and we tell the mothers
                            of soldiers, and American mothers in general, if they value their
                            lives and those of their children, find a nationalistic government
                            that will look after their interests and not the interest of the Jews.
                                The continuation of the tyranny will bring the fighting to
                            America, like Ramzi Yousef and others. This is my message to
                            the American people to look for a serious government that looks
                            out for their interest and does not attack others, their lands or
                            their honor.

                            John Miller: Mr. Bin Ladin, these are most of the questions we

file:///G|/AB/9-11%20Terrorism/Factual%20Materials/Osama%20Bin%20Ladin.htm (10 of 12)6/29/2004 9:08:55 AM
Osama Bin Ladin
                  Case 1:03-md-01570-GBD-SN Document 272-16 Filed 06/30/04 Page 12 of 13
                            came with. Is there anything else that I did not ask that you
                            would like to add?

                            Osama Bin Ladin: We would like to stress that we are on close
                            contact with Muslim masses, praise be to Allah. The issue of
                            liberating Holy Lands is not my personal desire, but I am just a
                            worshiper of Allah and one of Allah’s soldiers in the Muslim
                            nation.
                                The movement is driving fast and light forward. And I am
                            sure of our victory with Allah’s help against America and the
                            Jews. We see this then in the strength of the reaction, that every
                            day the Americans delay their departure, for every day they
                            delay, they will receive a new corpse from Muslim countries.
                                The Saudi Arabian government captured a few months ago in
                            Ramadan a number of missiles, anti aircraft missiles, SAM and
                            stringer missiles.
                                Can the America government explain to its people when a
                            SAM missile is launched against a passenger military airplane
                            with 250 soldiers abroad? Can they justify their deaths? What the
                            Saudi Arabian government captured is much less than what was
                            not captured. The American government, if it has anything left to
                            hang on to, has no choice but to pull its sons from the Holy Land
                            especially and the Muslim land in general. And to refrain from
                            supporting in any way the Israeli government and Jews who
                            occupy our land.

                            Relationship with Sheik Abdel Rahman
                               We place the complete responsibility on the American
                            government of any attacks against Muslims and its support of
                            regimes in our countries against the best interest of the people.
                            We also hold them responsible for its attacks on Islamic
                            symbols, Sheik Abdel Rahman, who is considered one of most
                            prominent Islamic scholars who Allah gave the courage to speak
                            the truth.
                               We hear that he is in a bad health condition, and he is a man
                            beyond 60 years of age and is blind and America treats him
                            badly. The imprisonment of Sheik Omar is an attack on the
                            Muslim religion, and countries. We hold it completely
                            responsible for the imprisonment of Sheik Omar and the
                            imprisonment of other Muslims in America.
                               My word to American journalists is not to ask why we did
                            that, but to ask what had their government done that forced us to
                            defend ourselves?
                               This is all I have to say.


file:///G|/AB/9-11%20Terrorism/Factual%20Materials/Osama%20Bin%20Ladin.htm (11 of 12)6/29/2004 9:08:55 AM
Osama Bin Ladin
                  Case 1:03-md-01570-GBD-SN Document 272-16 Filed 06/30/04 Page 13 of 13
                         John Miller: What are you going to do,just picking a word or
                            two, did he by any chance mention the new fatwa issued by
                            Abdel Rahman last week?

                            Osama Bin Ladin: No.

                            John Miller: I was wondering if you could tell me the story of
                            the gun behind you and how you got it? It is a kind of a legend in
                            many ways, that during the Afghan war you got it in hand-to-
                            hand combat with Russians who were on a three day assault on
                            the camp.

                            Osama Bin Ladin: We went through vicious battles with the
                            Russians. It is enough to just say with Russians, the are known in
                            the West for their brutality and viciousness. They used poisonous
                            gas against us, and I was subjected to this. They used airplanes
                            against our position, and we lost many fighters, but we were able
                            to deter many commando attacks, unlike anything before.

                            John Miller: From history, in 1897, Teddy Roosevelt was a
                            wealthy man who grew up in a privileged situation who fought
                            on the frontline, put together his own team not from the army,
                            handpicked his own men and went into battle. You are like the
                            Middle East version of Teddy Roosevelt.

                            Osama Bin Ladin: We are worshipers of Allah and we carry out
                            our duties. Our duty is to call on all nations to join the light. Our
                            first duty is being people of this religion and to fight for this
                            religion.
                                Since we grew up, American weapons were on our heads and
                            the heads of our children and mothers, like in Qana and others.
                                The Westerners have been under the impression that we are
                            butchers. They just only need to look at their brother in Eastern
                            Europe, Turkey and Albania to see those who embraced Islam
                            and lived happily with it for centuries. The Westem masses have
                            fallen under the effect of Jewish media who do not broadcast on
                            Muslims except that we butcher, and without showing that of
                            number of those us who were butchered is the biggest number.
                                It is our duty to lead people to light.


                                         Copyright (c)1998 ABCNEWS and Starwave Corporation. All
                                         rights reserved. This material may not be published, broadcast,
                                         rewritten or redistributed in any form.




file:///G|/AB/9-11%20Terrorism/Factual%20Materials/Osama%20Bin%20Ladin.htm (12 of 12)6/29/2004 9:08:55 AM
